Case 4:20-cr-00212-ALM-KPJ Document 422 Filed 04/13/23 Page 1 of 1 PageID #: 3935




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION

    UNITED STATES OF AMERICA                          §
                                                      §
    v.                                                §          CASE NO. 4:20-CR-212
                                                      §          Judge Mazzant/Judge Johnson
    DEBRA LYNN MERCER-ERWIN (1)                       §

                AMENDED MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

           Came on for consideration the report of the United States Magistrate Judge in this action,

    this matter having been heretofore referred to the United States Magistrate Judge pursuant to

    28 U.S.C. § 636. On March 31, 2023, the report of the Magistrate Judge (Dkt. #350) was entered

    containing proposed findings of fact and recommendations that Defendant Debra Lynn Mercer-

    Erwin’s Motions to Suppress (Dkts. #321 and 324) be DENIED.

           Having received the report of the Magistrate Judge, and the Court having considered the

    Defendant’s timely filed objections (Dkt. # 386), this Court is of the opinion that the findings and

    conclusions of the Magistrate Judge are correct and adopts the Magistrate Judge’s report (Dkt.

.   #350) as the findings and conclusions of the Court.

           It is, therefore, ORDERED that Defendant Debra Lynn Mercer-Erwin’s Motions to

    Suppress (Dkts. #321 and 324) are DENIED.

           IT IS SO ORDERED.
           SIGNED this 13th day of April, 2023.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
